

Matter of Moody (2020 NY Slip Op 05414)





Matter of Moody


2020 NY Slip Op 05414


Decided on October 2, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 2, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: PERADOTTO, J.P., CARNI, NEMOYER, TROUTMAN, AND WINSLOW, JJ. (Filed Sept. 16, 2020.)


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[*1]MATTER OF SIMON K. MOODY, AN ATTORNEY, RESPONDENT. GRIEVANCE COMMITTEE OF THE SEVENTH JUDICIAL DISTRICT, PETITIONER.



MEMORANDUM AND ORDER
Order of interim suspension entered pursuant to 22 NYCRR 1240.9.








